Case 1:20-cv-00126-PLM-SJB ECF No. 1-1, PagelD.27 Filed 02/12/20 Page1of2

EXHIBIT 1

Declaration of Stacey
Kaczynski
Case 1:20-cv-00126-PLM-SJB ECF No. 1-1, PagelD.28 Filed 02/12/20 Page 2 of 2

DECLARATION OF STACEY KACZYNSKI
My name is Stacey Kaczynski. | am over eighteen years of age. | have personal

knowledge of the facts stated herein and am competent to testify as follows:

a Pursuant to 28 U.S.C.§ 1746, | hereby declare as follows:

2: | am the mother of Hunter Kaczynski, a minor.

| declare under the penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed this || _ day of February, 2020

a \
“Saey KecaiaiS XM

{00842216.DOCX}
